Case 2:21-cv-10146-BAF-DRG ECF No. 37, PageID.787 Filed 07/19/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

GEOFFREY LEONARD, et al.,

       Plaintiffs,                                          Civil Action No. 21-CV-10146

vs.                                                         HON. BERNARD A. FRIEDMAN

NOKEL LLC, et al.,

      Defendants.
__________________________/

                                         JUDGMENT

              The Court has issued an opinion and order in this matter granting defendants’ motion
to dismiss. Accordingly,

              IT IS ORDERED AND ADJUDGED that judgment be and is hereby granted for
defendants and against plaintiffs.

                                                    KINIKIA D. ESSIX
                                                    CLERK OF COURT

                                                    By: Johnetta M. Curry-Williams
                                                        Deputy Clerk


Approved: s/Bernard A. Friedman
          BERNARD A. FRIEDMAN
          SENIOR U.S. DISTRICT JUDGE


Dated: July 19, 2021
